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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

          Plaintiff,
  v.

  UNITED STATES OF AMERICA,

          Defendant.
                                         /

                           PRELIMINARY ORDER ON MOTION
                   FOR JUDICIAL OVERSIGHT AND ADDITIONAL RELIEF

          THIS CAUSE comes before the Court upon Plaintiff’s Motion for Judicial Oversight and

  Additional Relief [ECF No. 1] and Supplemental Filing [ECF No. 28]. Upon review of Plaintiff’s

  submissions and the exceptional circumstances presented, and subject to an opportunity to be heard

  as indicated below, it is ORDERED AND ADJUDGED as follows:

       1. Pursuant to Rule 53(b)(1) of the Federal Rules of Civil Procedure and the Court’s inherent

          authority, and without prejudice to the parties’ objections, the Court hereby provides notice

          of its preliminary intent to appoint a special master in this case.

       2. A hearing on the Motion is scheduled for September 1, 2022, at 1:00 p.m. The hearing

          shall be conducted at the Paul G. Rogers U.S. Courthouse, 701 Clematis Street,

          Courtroom 1, West Palm Beach Florida, Florida 33401.

       3. The parties shall adhere to the following instructions:

              a. On or before August 30, 2022, Defendant shall publicly file a Response to the

                  Motion and Supplement, including Plaintiff’s request for the appointment of a

                  special master.
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               b. In addition to the Response, on or before August 30, 2022, Defendant shall file

                   under seal the following materials:

                       i. A more detailed Receipt for Property specifying all property seized pursuant

                          to the search warrant executed on August 8, 2022.

                      ii. A particularized notice indicating the status of Defendant’s review of the

                          seized property, including any filter review conducted by the privilege

                          review team and any dissemination of materials beyond the privilege review

                          team.

               c. Plaintiff shall file a Reply to Defendant’s Response on or before August 31, 2022,

                   at 8:00 p.m.

               d. In accordance with Rule 53, the parties are advised to include in their filings their

                   respective and particularized positions on the duties and responsibilities of a

                   prospective special master, along with any other considerations pertinent to the

                   appointment of a special master in this case.

        4. This Order should not be construed as a final determination on Plaintiff’s Motion.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida this 27th day of August

  2022.


                                                            _________________________________
                                                            AILEEN M. CANNON
                                                            UNITED STATES DISTRICT JUDGE

  cc:      counsel of record




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